              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:13-cr-00055-MR-DLH-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                          ORDER
                                )
                                )
MICHAEL E. BALLEW,              )
                                )
                   Defendant.   )
_______________________________ )


     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Indictment [Doc. 28].

     For the reasons stated in the Government’s motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Motion to Dismiss [Doc. 28]

is GRANTED, and the Bill of Indictment filed in the above-captioned case is

hereby DISMISSED WITHOUT PREJUDICE.

     IT IS SO ORDERED.          Signed: November 1, 2013




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